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 8
                              UNITED STATES DISTRICT COURT
 9
                          SOUTHERN DISTRICT OF CALIFORNIA
10
11
     LINDSEY MACK, an individual,              Case No.: 3:24-cv-1120 CAB VET
12
13               Plaintiff,                    Hon. Cathy Ann Bencivengo, Dep. 15A
14         vs.                                DEFENDANT NOVA SOUTHEASTERN
15   NOVA SOUTHEASTERN UNIVERSITY, UNIVERSITY’S MEMORANDUM OF
     a Private-Nonprofit Corporation;         POINTS AND AUTHORITIES IN
16                                            SUPPORT OF MOTION TO DISMISS
     MICHELLE WOLFMAN, Professor;
     DONNA HILLIER, a Program Manager;        THE COMPLAINT PURSUANT TO
17
     KAREN GROSBY, Dean; JENNIFER             FEDERAL RULE OF CIVL
18   WILSON, Director of Disability Services; PROCEDURE 12(B)(6)
19   GEORGE HANBURY, President;
                                              (Filed concurrently with Notice of Motion
     BENJAMIN JOHNSON, Chief Judicial         and Motion and [Proposed] Order)
20   Officer; RODNEY DORVAL, Case
     Manager; KATIE TENNANT, Case             Hearing Date: August 9, 2024
21
     Manager; JENNIFER RAMOS, Chief of        Dept.: 15A
22   Staff; SHARI SAPERSTEIN, Vice
     President of Student Affairs; DENISE     PER CHAMBERS RULES, NO ORAL
23   CARRAZCO, Graduate Administrative        ARGUMENT UNLESS SEPARATELY
24   Assistant; DANIELLE MILLEN,              ORDERED BY THE COURT
     Professor; STEPHANIE AKI, Professor
25                                            Complaint filed: April 29, 2024
                  Defendants.                 Trial Date:        Not Set.
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 1
 2   I.    INTRODUCTION
 3         This matter arises out of Plaintiff Lindsey Mack’s (“Plaintiff”) enrollment with
 4   Defendant Nova Southeastern University (“Nova”), is a private university based in Florida.
 5   Since Plaintiff’s initial enrollment in Winter 2014, Plaintiff’s attendance at Nova has been
 6   entirely remote. Plaintiff alleges she requested accommodations during her Winter 2023
 7   enrollment, which she claims were denied. Plaintiff also alleges she was retaliated against
 8   for requesting the accommodations. Plaintiff filed this lawsuit against Nova and fourteen
 9   (14) of its faculty members and administrators asserting nine causes of actions that include
10   claims of due process violations, retaliation, violation of Nova’s anti-discrimination
11   policies, violation of the Rehabilitation Act, fraud, intentional infliction of emotional
12   distress, and deceptive business practices. For the various reasons discussed herein, all of
13   Plaintiff’s causes of action fail as a matter of law and should be dismissed.
14         Plaintiff’s First and Second causes of action are not actionable because Nova is a
15   private university that is not governed by the Due Process Clause of the Fourteenth
16   Amendment and no statutory provisions or common law tort exists that affords Plaintiff
17   the right to seek monetary damages against Defendant under Article I section 2(a) of the
18   California Constitution.
19         Plaintiff’s Third cause of action should be dismissed for failure to state a claim
20   because there is no statute or common law that provides a cause of action for monetary
21   damages against a private university for violation of its own nondiscriminatory policies.
22         Plaintiff’s Fourth and Seventh causes of action should be dismissed for failure to
23   state a claim because Plaintiff has failed to plead what disability she had, what
24   accommodations were requested that were denied, that she was a qualified individual under
25   Section 502(a) of the Rehabilitation Act, or that the accommodations offered by Defendant
26   were unreasonable under the circumstances. Additionally, emotional distress and punitive
27   damages are barred under Section 502.
28         Plaintiff’s Fifth cause of action for fraud should be dismissed for failure to state a
                                                  8
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 1   claim because the allegations in the complaint fail to meet the particularity requirement of
 2   Rule 9(b). Neilson v. Union Bank of Cal., 290 F. Supp. 2d 1101, 1141 (CD. Cal. 2003).
 3         Plaintiff’s Sixth cause of action should be dismissed for failure to state a claim
 4   because setting aside the fact that “administrative negligence,” is not a valid cause of
 5   action, the allegations equate to a claim of education malpractice, which is not
 6   actionable. Peter W. v. San Francisco Unified Sch. Dist., 60 Cal. App. 3d 814, 825 (1976).
 7         Plaintiff’s Eighth cause of action should be dismissed for failure to state a claim
 8   because the allegations in the Complaint regarding Nova’s actions or inaction do not
 9   amount to extreme and outrageous conduct.
10         Plaintiff’s Ninth cause of action should be dismissed for failure to state a claim
11   because Plaintiff fails to state a claim for fraud against Defendant. Aleksick v. 7-Eleven,
12   Inc. (2012) 205 Cal. App. 4th 1176, 1185 (“[w]hen a statutory claim fails, a derivative UCL
13   claim also fails”)
14         For all these reasons and those stated below, Defendant respectfully requests that the
15   Court dismiss Plaintiff’s firth through ninth causes of action without leave to amend.
16   II.   STATEMENT OF FACTS AND RELEVANT
17         A.     Procedural History
18         On April 29, 2024, Plaintiff filed her Complaint in pro per in the Superior Court of
19   the State of California, County of San Diego, against Nova and many its faculty members,
20   including defendants Michelle Wolfman (Professor), Donna Hillier (Program Manager),
21   Karen Grosby (Dean), Jennifer Wilson (Director of Disability Services), George Hanbury
22   (President), Benjamin Johnson (Chief Judicial Officer), Rodney Dorval (Case Manager),
23   Katie Tennant (Case Manager), Jennifer Ramos (Chief of Staff), Shari Saperstein (VP of
24   Student Affairs), Brad Williams (Senior VP of Student Affairs), Denise Carrazco
25   (Graduate Administrative Assistant), Daniell Millien (Professor), and Stephanie Akl
26   (Professor). (See generally Compl.)
27         The Complaint asserts the following nine causes of actions against all defendants:
28   (1) Violation of First Amendment, as applied to the states; (2) Violation of Article I,
                                                  9
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 1    Section 2(a) of California State Constitution; (3) Violation of Nova Southeastern’s
 2    Nondiscrimination Policy and General Student Rights Policies; (4) Violation of § 504 of
 3    the Rehabilitation Act; (5) Fraud; (6) Administrative Negligence and Lack of Duty of Care;
 4    (7) Retaliation; (8) Willful, Purposeful, and Intentional Infliction of Emotional Distress;
 5    and (9) Deceptive Business Practices. Id.
 6             On June 27, 2024, Nova timely removed this action to this Court on the ground of
 7    federal question jurisdiction. See Dkt. No.1.
 8             B.       Plaintiff’s Factual Allegations
 9             Plaintiff’s allegations in the Complaint, are as follows:
10             Plaintiff began her education remotely with Nova in or around Winter 2014 as a
11    student in the MS English Education program, continued her education in the EdD
12    Educational Leadership program and the MS Math Education program, and is currently
13    attending to her education in the MS Forensic Psychology program. Compl. ¶¶ 9, 15.
14             Plaintiff is a student with a disability “as defined by the Individuals With Disabilities
15    Education Act (“IDEA”) and is entitled to the protections outlined in Section 504 of the
16    Rehabilitation Act.1” Id. at ¶ 11.)
17             In January 2023, while enrolled in the Winter 2023 term at Nova taking PSY 901
18    with Dr. Gretchen Moy (“Professor Moy”), Plaintiff inquired as to why her “previously
19    approved disability accommodations2 of over eight years were not being implemented by
20    the professor and her grades and mental health were being affected by it.” Id. at ¶ 16.
21             On January 15, 2023, Plaintiff reached out the Office of Disability Services
22    (“Disability Office”) to request they notify Professor Moy of her said accommodations,
23    which they did. Id. at ¶ 17. When Plaintiff reached out to Professor Moy to determine why
24    her accommodations were not being implemented, Professor Moy told Plaintiff she was
25    not in agreeance with the accommodation provided to Plaintiff and was working with the
26    Office of Disability Services to determine accommodations that would work best for
27
28    1
       However, Plaintiff does not identity in the Complaint, exactly what her disability is.
      2
       Plaintiff never identifies what these “existing” accommodations
                                                                   10 were.
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    Plaintiff and the program. Id. at ¶ 19. Plaintiff rejected Professor Moy’s request that
 2    Plaintiff meet with her and the Teaching Assistant to discuss Plaintiff’s accommodations
 3    and amendments because she felt it was inappropriate for any professor to attempt to have
 4    that conversation with a student. Id. at ¶ 19.
 5            Thereafter, Plaintiff contacted the Disability Office to inform them of Dr’s Moy’s
 6    refusal to implement her “approved accommodations.” Id. at ¶ 21.
 7            On February 13, 2023, Plaintiff received a phone call from Kelly Morrison, the Case
 8    Manager, confirming she would meet with Dr. Wilson to discuss Plaintiff’s concerns
 9    regarding Professor Moy. Id. at ¶ 22.
10            On February 14, 2023, Ms. Morrison informed Plaintiff that Dr. Wilson had
11    instructed her to let Plaintiff know her accommodations had been changed, effective
12    immediately, from “late assignments can be submitted up until the last day of call” to “3
13    days extra time on late assignments.” Id. at ¶ 22. When Plaintiff inquired on how this
14    decision was made and why she was not part of the discussion, Ms. Morrison told Plaintiff
15    she would have to ask Dr. Wilson and that she would have Dr. Wilson call Plaintiff. Id. at
16    ¶ 22.
17            On March 3, 2023, Dr. Shari Saperstein (“Dr. Saperstein”), the VP of Student
18    Affairs, conducted a phone call with Plaintiff and followed up with another call on March
19    6, 2023. Id. at ¶ 25.
20            On March 14, 2023, a Zoom call occurred involving Plaintiff, Dr. Saperstein, and
21    Dr. Wilson, wherein Dr. Wilson explained to Plaintiff she had made the decision to change
22    Plaintiff’s accommodations based on collaboration with Professor Moy. Id. at ¶ 26.
23    Plaintiff alleges Dr. Wilson “provided no explanation or evidence as to why this change
24    was made” and “was unable to explain how she engaged in the “interactive process” with
25    Plaintiff if no previous discussion between the two had taken place.” Id. at ¶ 26. During
26    the same call, Plaintiff also notified Dr. Saperstein and Dr. Wilson that “two of the
27    accommodations, as written, required her as a student to have a conversation with her
28    professor(s) in order to use the accommodation,” to which Dr. Wilson notified Plaintiff
                                                       11
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 1    that it is common practice to require students to negotiate their accommodation with
 2    professors. Id. at ¶ 31.
 3          Plaintiff also asked Dr. Wilson to provide her with “an explanation on which “course
 4    learning outcome” would not be met by her continuing to have the same four
 5    accommodations that I have always had.” Id. at ¶ 35. Plaintiff alleges Dr. Wilson was
 6    unable to answer her question directly since she did not have her notes or Plaintiff’s file
 7    with her. Id. at ¶ 35. At the end of the conference, Plaintiff was told by Dr. Wilson that
 8    “moving forward, our office will review these accommodations on a course-by-course
 9    basis as part of the interactive process with the Program Director.” Id. at ¶ 41. Dr. Wilson
10    also told Plaintiff to notify her office by email for any course Plaintiff wanted the school
11    to review the accommodation for when Plaintiff registers for a new semester or during the
12    first week of each semester. Id. at ¶ 41.
13          That night, Plaintiff sent an email to Dr. Wilson and Dr. Saperstein to summarize
14    their conversation while outlining all the federal laws and violations Plaintiff believed were
15    occurring with her accommodations, demanding they be fixed. Id. at ¶ 42.
16          On March 15, 2023, Plaintiff received an email from Dr. Saperstein and Dr. Wilson
17    notifying Plaintiff hat the scheduled March 16, 2023, follow-up Zoom call had been
18    cancelled, and that Plaintiff’s only option for next step resolution was to file an
19    Accommodations Appeal with Dr. Benjamin Johnson (“Dr. Johnson”) in the Student
20    Services Department. Id. at ¶ 43.
21          On March 16, 2023, Plaintiff contacted Dr. Johnson to file the Accommodations
22    Appeal and notified him she would be making a separate Formal Complaint for
23    inappropriate conduct and disability discrimination of both Dr. Wilson and Dr. Saperstein.
24    Id. at ¶ 43. Dr. Johnson conducted a phone call with Plaintiff to discuss her concerns and
25    contacted his boss, Senior Vice President of Student Affairs, Dr. Brad Williams (“Dr.
26    Williams”) “to start the process of addressing Plaintiff’s formal complaint regarding the
27    behavior of [Dr. Wilson] and [Dr. Saperstein] over the previous weeks.” Plaintiff alleges
28    her request for an Accommodations Appeal hearing was ignored by Dr. Johnson.
                                                   12
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 1    (Complaint, 44.) Plaintiff also alleges at that point, she had concluded the Winter 2023
 2    term without her professor adhering to her accommodations. Id. at ¶ 44.
 3          A few days later, Dr. Williams called Plaintiff to discuss her concerns and indicated
 4    he would investigate Plaintiff’s claims. Id. at ¶ 45.
 5          On April 12, 2023, Plaintiff received an email from Dr. Saperstein notifying her that
 6    Dr. Williams had appointed her to serve as an independent agent regarding the concerns
 7    Plaintiff discussed with Dr. Williams. Id. at ¶ 46. Dr. Saperstein indicated that after a
 8    thorough investigation, she found Dr. Wilson and herself had followed all appropriate
 9    policies and procedures to assist Plaintiff in accessing the appropriate accommodations. Id.
10          Weeks later, Plaintiff contacted Dr. Williams and copied Dr. Saperstein to inquire
11    why the “independent investigator” of her complaint was one of the two people she had
12    complained about. Id. at ¶ 47. Plaintiff also asked for Dr. Saperstein’s investigative report
13    that was “required to be written and presented per university policy.” Id. Dr. Saperstein
14    responded to Plaintiff’s email indicating no such report existed. Id.
15          Plaintiff alleges that thereafter, Dr. Saperstein and Dr. Williams did not return her
16    calls or emails. Id. Plaintiff also alleges her emails and phone calls to Dr. Johnson, Dr.
17    Wilson, the Disability Office and Denise Carrazco (the Graduate Administrative Assistant)
18    also went ignored. Id. at ¶ 48.
19          On July 20, 2023, a Zoom conference took place involving Plaintiff, Dr. Wilson, and
20    Katie Tennant, the Case Manager for Undergraduate Program. Id. at ¶ 49. During this
21    conference, in addition to discussing her issues with the accommodations, Plaintiff
22    requested two additional accommodations to be implemented immediately. (Complaint, ¶
23    50) Dr. Wilson suggested she would get back to Plaintiff regarding her decision and
24    whether she would approve the accommodations. Id. at ¶ 50. When Plaintiff requested the
25    decision be made immediately, Dr. Wilson indicated she would review the request as quick
26    as possible. Id.
27          After six weeks of not hearing back from Dr. Wilson, Plaintiff emailed Ms. Tennant
28    and Dr. Wilson copying the Dean, Dr. Johnson, and Dr. Saperstein informing them they
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 1    were in violation of ADA laws and that Plaintiff’s needs were not being met. Id. at ¶ 50.
 2    Plaintiff alleges her emails and phone calls went unanswered from all parties and she had
 3    been well within the Summer 2023 term without receiving proper disability
 4    accommodation. (Id.)
 5           At the Accommodations Appeal hearing, Plaintiff showed case law to the panel of
 6    all the ways in which her accommodations were breaking federal law. Id. at ¶ 51. The
 7    following week, Dr. Johnson informed Plaintiff via email that they would clarify the
 8    language of the accommodations provided. Plaintiff alleges Dr. Wilson “simply took the
 9    previous accommodations that were written in paragraph format and formatted the same
10    exact language using bullet points.” Id. Thereafter, Plaintiff attempted to reach Dr. Johnson
11    but has not received a response. Id. at ¶ 52.
12           In or around August 2023, Plaintiff spoke to Jennifer Ramos of the Office of the
13    President, George Hanbury, before the Fall 2023 term was to begin. Id. at ¶ 53. Ms. Ramos
14    indicated she would reach out to the parties that were involved for clarity on the issues. Id.
15    The next day, Ramos notified Plaintiff she had spoken to Dr. Wilson who would be in
16    immediate contact with Plaintiff to follow up on her unanswered questions. Id. at ¶ 54)
17    Plaintiff alleges that since then, no one has answered her “hundreds of emails, phone calls
18    and voicemails,” and that she “continues to go without accommodations for four terms.”
19    Id.
20           On September 29, 2023, Plaintiff received an email from Dr. Saperstein, stating,
21    “[T]he University stands by the language of the approved accommodation letter as
22    currently written. As this and the matters detailed in my previous email have already been
23    addressed, the University will no longer entertain communication on these specific
24    concerns and will not be responding to further communications regarding these matters.”
25    Id. at 55.
26    III.   LEGAL STANDARD
27           A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure
28    (“FRCP”) tests the legal sufficiency of the claims stated in the complaint. Navarro v. Block,
                                                      14
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 1    250 F.3d 729, 732 (9th Cir. 2001); Galvani v. Galvani, 2011 U.S. Dist. LEXIS 102375, at
 2    *4 (N.D. Cal. Sept. 12, 2011). Although Rule 8 requires that a pleading must provide “a
 3    short and plain statement of the claim showing that the pleader is entitled to relief,” a
 4    complaint must be dismissed under Rule 12(b)(6) if the complaint fails to provide “enough
 5    facts to state a claim for relief that is plausible on its face.” FRCP 8(a); Bell Atl. Corp. v.
 6    Twombly, 550 U.S. 544, 570 (2007).
 7          Plausibility does not mean probability, but it requires “more than a sheer possibility
 8    that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A
 9    claim has facial plausibility when the plaintiff pleads factual content that allows the court
10    to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
11    Id. Thus, the Rule 8 requirement for stating a claim for relief “demands more than an
12    unadorned, the-defendant-unlawfully-harmed me accusation.” Ashcroft, 556 U.S. at
13    678; see also Esquire v. FedEx Corp., 2023 U.S. Dist. LEXIS 176072, at *5 (C.D. Cal.
14    Sep. 28, 2023) (granting motion to dismiss and ruling “[a]lthough Plaintiff lists thirty-three
15    legal claims in the [First Amended Complaint (“FAC”)], he provides little to no facts about
16    what happened, how each Defendant was involved, and how that conduct supports each of
17    his legal claims, as required under the Federal Rules. Without more factual allegations, the
18    FAC does not give Defendants fair notice of each of the claims against them.”) (emphasis
19    added); Zambrano v. Rite Aid Corp., 2018 U.S. Dist. LEXIS 223154, at *12 (C.D. Cal.
20    Dec. 21, 2018) (granting motion to dismiss because “Plaintiff offers only a conclusory
21    allegation that Plaintiff suffered from a disability because Plaintiff’s slip and fall ‘limited
22    Plaintiff's ability to perform the major life activity of working.’….Plaintiff argues in
23    opposition that she does not need to plead detailed factual allegations. Plaintiff offers no
24    case law suggesting that she need not plead the nature of her disability. Moreover, the bare
25    allegation   of   a   disability   is   inconsistent   with   both    the   letter   and    spirit
26    of Twombly and Iqbal.”); Ross v. Sodexo Remote Sites USA, Inc., 2016 U.S. Dist. LEXIS
27    192892, at *18 (C.D. Cal. Dec. 6, 2016) (“A bare allegation that Plaintiff believes the
28    harassment occurred on the basis of race is simply not sufficient to meet
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 1    the Twombly/Iqbal standard. Accordingly, Plaintiff fails to allege sufficient facts to state
 2    a claim for racial harassment under FEHA.”).
 3          In ruling on a motion to dismiss, the court accepts as true the material facts alleged
 4    in the complaint together with all reasonable inferences drawn from those facts. Navarro,
 5    250 F.3d at 732. However, “the tenet that a court must accept a complaint’s allegations as
 6    true is inapplicable to threadbare recitals of a cause of action’s elements, supported by mere
 7    conclusory statements.” Ashcroft, 556 U.S. at 678. “[C]onclusory allegations of law and
 8    unwarranted inferences are insufficient to avoid a Rule 12(b)(6) dismissal.” Cousins v.
 9    Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009). “A pleading that offers ‘labels and
10    conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’”
11    Ashcroft, 556 U.S. at 678. “Nor does a complaint suffice if it tenders ‘naked assertion[s]’
12    devoid of ‘further factual enhancement.’” Id. To be entitled to the presumption of truth, a
13    complaint’s allegations “must contain sufficient allegations of underlying facts to give fair
14    notice and to enable the opposing party to defend itself effectively.” Starr v. Baca, 652
15    F.3d 1202, 1216 (9th Cir. 2011).
16          Here, in addition to vague and ambiguous statements about Plaintiff’s disability and
17    requested accommodations, Plaintiff has not alleged more than an “unadorned, the-
18    defendant-unlawfully-harmed me accusation” with respect to each defendant, which were
19    determined to be insufficient in Ashcroft and should not be sufficient here.
20          Thus, the Court should dismiss Plaintiff’s first through ninth causes of action without
21    leave to amend.
22    IV.   THE COMPLAINT MUST BE DISMISSED BECAUSE PLAINTIFF FAILS
23          TO STATE ANY CLAIM UPON WHICH RELIEF MAY BE GRANTED
24          A.     Plaintiff Fails to State a Claim for Her First Cause of Action for Violation
25                 of the Fourteenth Amendment
26          The Due Process Clause of the Fourteenth Amendment provides that “[n]o State
27    shall . . . deprive any person of life, liberty or property, without due process of law.” U.S.
28    Const. amend. XIV, § 1. The Fourteenth Amendment, by its terms, limits discrimination
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 1    only by governmental entities, not by private parties.
 2          Here, Nova is a private university not governed by the Due Process clause of the
 3    Fourteenth Amendment. See Collins v. Nw. Univ., 164 F. Supp. 3d 1071, 1076 (N.D. Ill.
 4    2016). Therefore, the Complaint fails to state facts to support a viable cause of action for
 5    Violation of the Fourteenth Amendment.
 6          B.     Plaintiff Fails to State a Claim for Her Second Cause of Action for
 7                 Violation of Article 1 Section 2(a)
 8          Article 1 Section 2(a) of the California constitution states: “Every person may freely
 9    speak, write and publish his or her sentiments on all subjects, being responsible for the
10    abuse of this right. A law may not restrain or abridge liberty of speech or press.” However,
11    an individual cannot bring an action for monetary damages on the basis of an alleged
12    violation of a provision of the California Constitution, in the absence of a statutory
13    provision or established common law tort authorizing such a remedy. See Katzberg v.
14    The Regents of the University of California, 29 Cal. 4th 300 (2002); Degrassi v. Cook, 29
15    Cal. 4th 333, 342 (2002).
16          Here, no such statutory provisions or common law tort exists. Article I, section 2(a)
17    does not afford a right to seek money damages against a private university in the
18    circumstances presented. Thus, the Complaint fails to state a claim upon which relief can
19    be granted under this Section.
20          C.     Plaintiff Fails to State a Claim for Her Third Cause of Action for
21                 Violation of Nova’s Nondiscriminatory Policy and General Student
22                 Rights Policies
23          There is no statute or common law that provides a cause of action for monetary
24    damages against a private university for violation of its own nondiscriminatory policies.
25    To the extent Plaintiff is claiming breach of contract by Nova, Courts within the Ninth
26    Circuit have held that whether or not school guidelines, such as a code of conduct or student
27    handbook, constitute a contract depends on its specific language. See e.g., Banga v. Kanios,
28    2016 U.S. Dist. LEXIS 173016, 2016 WL 7230870 (N.D. Cal. 2016) (dismissing breach
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 1     of contract claim because plaintiff failed to produce any language suggesting that handbook
 2     was binding). While Plaintiff references the Student Handbook, Plaintiff does not allege
 3     the existence of language in the handbook that makes it binding on Nova. Even assuming
 4     the handbook constitutes a contract, Plaintiff has not alleged any plausible breach by Nova.
 5           Further, many jurisdictions have held that plaintiffs cannot bring a breach of contract
 6     claim based solely on a violation of an anti-discrimination policy. See, e.g., Jones v.
 7     George Fox Univ., No. 3:19-CV-0005-JR, 2021 U.S. Dist. LEXIS 72885, 2021 WL
 8     1414280, at *7 (D. Or. Feb. 3, 2021), report and recommendation adopted, No. 3:19-CV-
 9     00005-JR, 2021 U.S. Dist. LEXIS 72139, 2021 WL 1414202 (D. Or. Apr. 14,
10     2021) (explaining that a plaintiff “may seek a remedy for any alleged discrimination or
11     retaliation under state and federal laws prohibiting discrimination, but she may not seek
12     redress through a breach of contract claim”); Ferrera v. Bd. of Gadsden Indep. Sch. Dist.,
13     No. CIV-11-0053-MV-LAM, 2013 U.S. Dist. LEXIS 202596, 2013 WL 12200525, at *3
14     (D.N.M. Aug. 8, 2013) (holding that the “failure to comply with the ADA or the FMLA
15     cannot provide a basis for [a] breach of contract claim”); Byra-Grzegorczyk v. Bristol-
16     Myers Squibb Co., 572 F. Supp. 2d 233, 254 (D. Conn. 2008) (recognizing that an “anti-
17     discrimination policy” does not indicate that an employer is undertaking any contractual
18     obligations toward the employee; rather it requires the employer “to comply with federal
19     and state anti-discrimination laws”).
20           For instance, in Jones, the plaintiff, a student of George Fox University, sued the
21     college for disability discrimination in violation of the ADA, retaliation, breach of
22     contract, and breach of the duty of good faith and fair dealing. 2021 U.S. Dist. LEXIS
23     72885, 2021 WL 1414280, at *1. There, the university’s graduate catalogue and student
24     life policy contained a non-discrimination provision. 2021 U.S. Dist. LEXIS 72885, [WL]
25     at *5. The plaintiff based her breach of contract claim exclusively on the argument that
26     the university violated this nondiscrimination provision. 2021 U.S. Dist. LEXIS 72885,
27     [WL] at *7. The court explained that under Oregon law, the student-college relationship is
28     treated as contractual, and terms within a university handbook or course catalogue may be
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 1     enforceable depending on the circumstances. Id. In granting the university summary
 2     judgment, the court reasoned:
 3                 [The] plaintiff attributes these actions to discriminatory and retaliatory
                   motives in breach of an anti-discrimination contract provision that does not
 4
                   exist or at least does not bind the University. This is not to say that
 5                 the University is free to discriminate or retaliate against plaintiff as it is
                   still bound by laws prohibiting such conduct and indeed the Handbook
 6
                   confirms as much. Plaintiff may seek a remedy for any
 7                 alleged discrimination or retaliation under state and federal laws
                   prohibiting discrimination, but she may not seek redress through a breach
 8
                   of contract claim.
 9     Id.
10            The circumstances in this case are similar. Plaintiff alleges Nova violated its
11     Nondiscrimination Policy and General Student Right Policies in the Student
12     Handbook. (See Doc. ¶¶ 77 - 79.) However, because the nondiscrimination provisions are
13     the exclusive basis for this claim, the Third Cause of Action should also be dismissed for
14     failure to state a claim.
15            D.      Plaintiff Fails to State a Claim for Her Fourth Cause of Action for
16                    Violation of the Rehabilitation Act
17            Section 504(a) of the Rehabilitation Act provides: “No otherwise qualified
18     individual with a disability in the United States . . . shall solely by reason of her or his
19     disability, be excluded from the participation in, be denied the benefits of, or be subjected
20     to discrimination under any program or activity receiving Federal financial assistance...”
21     29 U.S.C. § 794(a). To prevail on a claim under Section 504, a plaintiff must demonstrate
22     (1) she is an individual with a disability; (2) she is otherwise qualified to receive the benefit
23     at issue; (3) she was excluded from or denied the benefits of the program solely on the
24     basis of her disability; and (4) the program receives federal financial assistance. Duvall v.
25     Co. of Kitsap, 260 F.3d 1124, 1135 (9th Cir. 2001).
26            Section 504 does not require accommodations “beyond those necessary to eliminate
27     discrimination against otherwise qualified individuals.” Davis, 442 U.S. at 410 (emphasis
28     added). Section 504 requires only those accommodations that are necessary to ameliorate
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 1     a disability’s effect of preventing meaningful access to the benefits of, or participation in,
 2     the program at issue. Wis. Cmty. Servs. v. City of Milwaukee, 465 F.3d 737, 748 (7th Cir.
 3     2006) (en banc); Fialka-Feldman v. Oakland Univ. Bd. of Trs., 678 F. Supp. 2d 576, 583
 4     (E.D. Mich. 2009); see also Schwarz, 544 F.3d at 1220, 1226 (applying analogous
 5     “necessity” analysis in Fair Housing Act case and noting that reasonable-accommodation
 6     analysis under FHA is same as under Rehabilitation Act). As provided in Breyer v. Pac.
 7     Univ., 2021 U.S. App. LEXIS 25937, *6, “[a] university is only required to make
 8     reasonable accommodations, Baughman v. Walt Disney World Co., 685 F.3d 1131, 1135
 9     (9th Cir. 2012), and is not required to make fundamental or substantial modifications to its
10     programs for a student with disabilities, Bird, 303 F.3d at 1020 (citing Alexander v.
11     Choate, 469 U.S. 287, 300, 105 S. Ct. 712, 83 L. Ed. 2d 661 (1985)). See also 42 U.S.C. §
12     12182(b)(2)(A)(ii); 34 C.F.R. §§ 104.44(a), 104.44(d)(2); 28 C.F.R. §§ 36.303(a).
13     36.306.”
14             In Regents of the University of Michigan v. Ewing (“Ewing”), the Supreme Court
15     held that judges should show “great respect” for a faculty’s professional judgment when
16     reviewing a genuinely academic decision and “may not override it unless it is such a
17     substantial departure from accepted academic norms as to demonstrate that the person or
18     committee responsible did not actually exercise professional judgment.” 474 U.S. 214, 225,
19     106 S. Ct. 507, 88 L. Ed. 2d 523 (1985) (footnote omitted) (emphasis added). While Ewing
20     was a due process case, the Court’s reasoning in its discussion of judicial review of
21     academic decisions is adaptable to other contexts. The factors motivating the Court’s
22     reasoning— principles of academic freedom and the courts’ lack of expertise to evaluate
23     academic decisions—are not tethered to the due process context. See id. at 226-27 & n.12.
24           Additionally, a plaintiff cannot recover monetary damages under Section 504 unless
25     the defendant engaged in intentional discrimination. Id at 1138. A plaintiff must establish
26     intentional discrimination bydemonstrating      the   defendant    acted    with    deliberate
27     indifference, which requires both “knowledge that a harm to a federally protected right is
28     substantially likely, and a failure to act on that likelihood.” Id. at 1139 (citing City of
                                                    20
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 1     Canton v. Harris, 489 U.S. 378, 389, 109 S. Ct. 1197, 103 L. Ed. 2d 412 (1988)).
 2           The facts pled in the Complaint do not even suggest what Plaintiff’s disability is and
 3     whether she could have met the essential requirements if afforded reasonable
 4     accommodations. It is not the Court’s obligation to speculate as to what reasonable
 5     accommodation would allow Plaintiff to succeed in the program and/or her classes. Rather,
 6     Plaintiff has the burden of identifying such an accommodation. Earl v. Mervyns, Inc., 207
 7     F.3d 1361, 1367 (11th Cir. 2000) (per curiam); see also Johnson v. Gambrinus Co./Spoetzl
 8     Brewery, 116 F.3d 1052, 1059 (5th Cir. 1997) (“The plaintiff has the burden of proving
 9     that a modification was requested and that the requested modification is
10     reasonable.”); Alumni Cruises, LLC v. Carnival Corp., 987 F. Supp. 2d 1290, 1305 (S.D.
11     Fla. 2013) (Rosenbaum, J.) (same). Further, Plaintiff is entitled to only a reasonable
12     accommodation and not necessarily the accommodation of her choice. Stewart v.
13     Happy Herman's Cheshire Bridge, Inc., 117 F.3d 1278, 1285-86 (11th Cir. 1997).
14           The Complaint also fails to identify or describe the accommodations that were in
15     fact requested and denied, whether the accommodations requested were reasonable, and
16     why the accommodation(s) offered by Nova were unreasonable. As provided above, Nova
17     is not required to implement any accommodation of Plaintiff’s choosing. Plaintiff admits
18     Professor Moy wanted to meet with Plaintiff and the Teaching Assistant to discuss
19     Plaintiff’s accommodations and amendments that would be appropriate for his class.
20     Professor Moh was the best person to determine what accommodations could be afforded
21     to Plaintiff, based on her disability, that were suitable for his class. However, Plaintiff
22     rejected Professor Moy’s request because it appears that Plaintiff wanted only the
23     accommodations of her choice, and Plaintiff was going to get every faculty member of the
24     school involved until she got what she wanted. Further, Nova offered accommodations to
25     Plaintiff; the fact that they were not to Plaintiff’s liking or satisfaction does not mean Nova
26     engaged in intentional discrimination.
27           Finally, even if intentional discrimination can be established, punitive damages are
28     not an available remedy under Section 504. Barnes v. Gorman, 536 U.S. 181, 189, 122 S.
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 1     Ct. 2097, 153 L. Ed. 2d 230 (2002). The United States Supreme Court has also ruled that
 2     emotional distress damages are barred under Section 504. Cummings v. Premier Rehab
 3     Keller, P.L.L.C., No. 20-219 (April 28, 2022).
 4            Based on the foregoing, the Complaint fails to state a cause of action for Violation
 5     of the Rehabilitation Act and the requests for punitive and emotional distress damages
 6     under this claim, are improper.
 7            E.     Plaintiff Fails to State a Claim for Her Fifth Cause of Action for Fraud.
 8            The elements of a claim for fraud are: “(1) a misrepresentation, which includes a
 9     concealment or nondisclosure; (2) knowledge of the falsity of the misrepresentation, i.e.,
10     scienter; (3) intent to induce reliance on the misrepresentation; (4) justifiable reliance; and
11     (5) resulting damages.” Cadlo v. Owens-Illinois, Inc., 125 Cal. App. 4th 513
12     (2004) (citing Small v. Fritz Cos., Inc., 30 Cal. 4th 167 (2003)). “The same elements
13     comprise a cause of action for negligent misrepresentation, except there is no requirement
14     of intent to induce reliance. . . . Id.
15            “It is well-established in the Ninth Circuit that both claims for fraud and negligent
16     misrepresentation must meet Rule 9(b)’s particularity requirement.” Neilson v. Union Bank
17     of Cal., 290 F. Supp. 2d 1101, 1141 (CD. Cal. 2003); see also Lorenz v. Sauer, 807 F.2d
18     1509, 1511-12 (9th Cir. 1987) (“Under California law, negligent misrepresentation is a
19     species of actual fraud…”). Rule 9(b) requires that a complaint “state with particularity the
20     circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). Rule 9(b) “requires . . .
21     an account of the time, place, and specific content of the false representations as well as
22     the identities of the parties to the misrepresentations.” Swartz v. KPMG LLP, 476 F.3d 756,
23     764 (9th Cir. 2007) (quotation omitted); see also Vess v. Ciba-Geigy Corp. USA, 317 F.3d
24     1097, 1106 (9th Cir. 2003) (averments of fraud must be accompanied by “the who, what,
25     when, where, and how of the misconduct charged”) (quotation omitted). “To comply
26     with Rule 9(b), allegations of fraud must be specific enough to give defendants notice of
27     the particular misconduct which is alleged to constitute the fraud charged so that they can
28     defend against the charge and not just deny that they have done anything wrong.” Bly-
                                                     22
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 1     Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001) (citations and quotations
 2     omitted).
 3           The Complaint alleges Nova “committed fraud on or about January 2023 and
 4     continues to do so as of the date of this filing.” (Complaint, ¶105.) The Complaint further
 5     alleges Nova’s “failures to provide in actuality the offered assurances and promises
 6     regarding their educational program, professor qualifications, teaching methods, deceptive
 7     grading practices, availability to [sic] professors for extra assistance, and support for
 8     students with disabilities meets the legal definition of fraud.” (Complaint, ¶107.) However,
 9     these allegations do not meet the specificity requirement of Rule 9(b). There are no
10     allegations regarding what specific misrepresentations were made, when they were made,
11     and by whom they were made by.
12           Further, statements regarding the quality of academic advising or the quality of
13     education are not actionable representations of fact for purposes of fraud or
14     misrepresentation. See Kashmiri v. Regents of University of California, 156 Cal. App. 4th
15     809, 826 (2007) (“general promises or expectations” are not actionable under California’s
16     educational malpractice doctrine).
17           Thus, the Complaint also fails to state a claim for fraud or misrepresentation.
18           F.     Plaintiff Fails to State a Claim for Her Sixth Cause of Action for
19                  Administrative Negligence and Lack of Duty of Care.
20           Setting aside the fact that “Administrative Negligence,” is not a valid cause of action,
21     universities are entitled to some leeway in modifying their programs from time to time to
22     exercise their educational responsibility properly. Mahavongsanan v. Hall, 529 F.2d 448,
23     450 (5th Cir. 1976). Courts across the country have uniformly refused, based on public
24     policy considerations, and under the educational malpractice doctrine, “to enter the
25     classroom to determine claims based upon educational malpractice.” Paladino v. Adelphi
26     Univ., 89 A.D. 2d 85, 87, 454 N.Y.S.2d 868 (1982) (citations omitted); see also Peter W.
27     v. San Francisco Unified Sch. Dist., 60 Cal. App. 3d 814, 825 (1976) (refusing to recognize
28     a cause of action for education malpractice); Paulsen v. Golden Gate Univ., 25 Cal. 3d 803,
                                                    23
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 1     808 (1979) (“There is a widely accepted rule of judicial nonintervention into the academic
 2     affairs of schools.”).
 3           In Peter W., an 18—year—old former public-school student, who graduated high
 4     school with a fifth-grade reading level, sued his school district for failure to provide an
 5     adequate education. The California Court of Appeal concluded that the complaint failed to
 6     allege a breach of a duty the law would recognize, noting that “classroom methodology
 7     affords no readily acceptable standards of care, or cause, or injury.” Peter W., 60 Cal. App.
 8     3d at 824. The court recognized the difficulties of assessing the wrongs and injuries
 9     involved, the lack of a workable rule of care against which a school district’s conduct may
10     be measured, and the incalculable burden which would be imposed on public school
11     systems. As such, California courts do not intervene in the academic affairs of schools
12     absent “such a substantial departure from accepted academic norms as to demonstrate that
13     the person or committee responsible did not actually exercise professional
14     judgment.” Banks v. Dominican Coll., 35 Cal. App. 4th 1545, 1551 (1995).
15           Here, the Complaint’s conclusory allegations that Nova breached its duty of care to
16     Plaintiff because its employees did not have the “knowledge, skills, ability and/or desire to
17     uphold their responsibility” to Plaintiff (Complaint, para. 121), equate to a claim of
18     “educational malpractice,” which, as stated above, is not actionable. Thus, Plaintiff’s Sixth
19     Cause of Action is also subject to dismissal for failure to state a claim.
20           G.     Plaintiff Fails to State a Claim for Her Seventh Cause of Action for
21                  Retaliation.
22           To establish a prima facie claim of retaliation under the ADA and/or Section 504,
23     Plaintiff must show that: (1) she engaged in a protected activity; (2) Nova knew she was
24     involved in a protected activity; (3) an adverse action was taken against her; and (4) a
25     causal connection exists between the protected activity and the adverse action. Pardi v.
26     Kaiser Permanente Hosp. Inc., 389 F.3d 840, 849 (9th Cir. 2004); Alex G. v. Board of
27     Trustees, 387 F. Supp. 2d 1119, 1128 (E.D. Cal. 2005).
28           An adverse action is any action “reasonably likely to deter [individuals] from
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 1     engaging in protected activity.” Pardi v. Kaiser Found. Hosp., 389 F.3d 840, 850 (9th Cir.
 2     2004); see also Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68, 126 S. Ct.
 3     2405, 165 L. Ed. 2d 345 (2006). Adverse actions include, among other things, tolerating
 4     harassment, depriving a person of available support services, and requiring an individual
 5     to go through unnecessary hoops. See Ray, 217 F.3d at 1241-42 (outlining cases finding
 6     adverse actions).
 7           The facts alleged in the Complaint do not demonstrate any adverse action taken
 8     against Plaintiff by Nova. The facts alleged do not indicate that Plaintiff was deterred from
 9     doing or saying anything to anyone at the university. As alleged, University faculty
10     members initiated and engaged in numerous meetings and discussions with Plaintiff to
11     discuss her requested accommodations. There is no evidence the University unreasonably
12     failed to respond to her ongoing complaints about not getting the accommodations she
13     wanted. See White, 548 U.S. at 57; Pardi, 389 F.3d at 850. Dr. Saperstein indicated on
14     September 29, 2023, that the University stood by the language of the approved
15     accommodation letter it provided to Plaintiff and that had addressed all matters raised by
16     Plaintiff. (Complaint, ¶ 56.) Finally, Plaintiff continued her enrollment at the school, at
17     least through four terms, despite her allegation that “continue[d] to go without
18     accommodations...” (Complaint, ¶ ¶ 54, 57.) Thus, she was not excluded from or denied
19     the benefits of the program solely on the basis of her disability, nor was she retaliated
20     against by Nova in response to her complaints.
21           H.     Plaintiff Fails to State a Claim for Her Eighth Cause of Action for Willful,
22                  Purposeful, and Intentional Infliction of Emotional Distress.
23           The elements of an Intentional Infliction of Emotional Distress (“IIED”) claim are:
24     (1) defendant’s outrageous conduct; (2) defendant’s intention to cause, or reckless
25     disregard of the probability of causing, emotional distress; (3) plaintiff’s suffering severe
26     or extreme emotional distress; and (4) an actual and proximate causal link between the
27     tortious (outrageous) conduct and the emotional distress. Nally v. Grace Cmty. Church of
28     the Valley, 47 Cal. 3d 278, 300 (1988). A defendant's conduct is “outrageous” when it is
                                                    25
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 1     so “extreme as to exceed all bounds of that usually tolerated in a civilized community.”
 2     Hughes v. Pair, 46 Cal.4th 1035, 1050-51 (2009) (internal quotations and citations
 3     omitted); Mintz v. Blue Cross of Cal., 172 Cal.App.4th 1594, 1609 (2009) (noting that
 4     conduct in support of an IIED claim must be “extreme, outrageous, beyond the bounds of
 5     decency, atrocious, or intolerable in a civilized society”).
 6           The Complaint neglects to identify the specific conduct on part of Nova that was
 7     extreme and outrageous. The Complaint also fails to allege with specificity the actions of
 8     each of the fourteen individuals the claim is being asserted against, that amounts to extreme
 9     and outrageous conduct. The allegations asserted simply do not reflect conduct that was an
10     “extraordinary transgression of the bounds of socially tolerable conduct” or “outrageous in
11     the extreme” so as to support liability. Accordingly, the Complaint also fails to state a valid
12     claim of IIED.
13           I.     Plaintiff Fails to State a Claim for Her Ninth Cause of Action for
14                  Deceptive Business Practices.
15           Finally, Plaintiff is also not entitled to any relief under California’s Unfair
16     Competition Law (“UCL”). The UCL's “larger purpose” is “protecting the general public
17     against unscrupulous business practices,” and courts must construe it accordingly. In re
18     Tobacco II Cases, 46 Cal. 4th 298, 312 (2009). Additionally, “[w]hen a statutory claim
19     fails, a derivative UCL claim also fails.” Aleksick v. 7-Eleven, Inc. (2012) 205 Cal. App.
20     4th 1176, 1185.
21           Here, the Complaint alleges Nova “violated and continues to violate California
22     Business and Professionals Code 17200, et seq., by misrepresenting the quality of their
23     educational program, level of knowledge and expertise of their professors, and the
24     educational benefit of their courses.” (Complaint, para. 160.) However, the Complaint fails
25     to allege what specific misrepresentations were made, how they were made, and by whom.
26     As provided above, since the Complaint fails to state a claim for fraud, Plaintiff’s UCL
27     claim also fails.
28     ///
                                                     26
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 1     V.      CONCLUSION
 2             For the foregoing reasons, Defendant submits that Plaintiff’s Complaint fails to state
 3     a claim upon which can be granted. Accordingly, Defendant respectfully requests that the
 4     present Motion to Dismiss be granted, and the Complaint dismissed, with prejudice.
 5
 6     DATED: July 3, 2024                            JACKSON LEWIS P.C.
 7
                                                  By: /s/ Sarah Raoof
 8                                                    Nikki L. Wilson
                                                      Sarah Raoof
 9
10                                                    Attorneys for Defendant
                                                      NOVA SOUTHEASTERN UNIVERSITY
11     4893-3506-8876, v. 3

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